                    Case 1:17-cv-00511-TJK                 Document 73         Filed 10/01/20          Page 1 of 1
AO 450 (Rev. 01/09; DC-03/10) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the
                                                          District
                                                    __________     of Columbia
                                                                District of __________


                                                                     )
                             Plaintiff                               )
                                v.                                   )      Civil Action No.
                                                                     )
                            Defendant                                )

                                                   JUDGMENT IN A CIVIL ACTION


The court has ordered that (check one):

   the plaintiff (name)                                                                                       recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus postjudgment interest at the rate of             %, along with costs.
    the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                    recover costs from the plaintiff (name)
                                            .
    other:

                                                                                                                                    .


This action was (check one):

   tried by a jury with Judge                                                                        presiding, and the jury has
rendered a verdict.
   tried by Judge                                                                        without a jury and the above decision
was reached.
    decided by Judge                                                                          on a motion for




Date:                                                                      ANGELA D. CAESAR, CLERK OF COURT
                                                                                                         2020.10.01
                                                                                                         12:17:48 -04'00'
                                                                                         Signature of Clerk or Deputy Clerk
